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THE STATE OF OKLAHOMA

STATE OF OKLAHOMA,

    
 

 
 
  

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)
Piaintiff, )
) NO. CF-2011-5182
V`°" § FiLED in r . oist
Nlartin \/argas Jr. ) 0 ‘ H ' COU
Defendant. )
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SS#-: xxx-xx~2858
JuooMENTANosEN!‘

Now, on this 12 day of June, 2012, this matter comes on before the undersigned Judge, for sentencing and
the Detendant, Martin Vargas Jr., appears personally and by Attorney Erin Maxwell, the State of Oklahoma
represented by Emi|y Harrelson, and the Defendant, having previously:

(x) Entered a plea of guilty
to/of the crime(s) of:

Statutory Reference
Count1: Rape l AFCF 21 O.S. 1111
Count2: Forcible Oral Sodomy AFCF 21 O.S. 888
Count 3: Burglary l AFCF ~ 21 O.S. 1431
(X) The defendant has previously been convicted of 01 felony crimes and the sentence has not been

enhanced in accordance With the provisions set forth in 21 O.S. 51; and,

lT lS THEREFORE ORDERED, ADJUDGED, AND DECREED by the Court that the Defendant, Mam`n
Vargas Jr,, is guilty of the above described offenses and is sentenced as follows:

TERM OF |MPR|SONMENT WITH EXECUT|ON OF SENTENCE SUSPENDED |N PART
COUNT SENTENCED TO A TERM OF

1 Fifty year(_§uspended sentence except for the first forty years to do with CFTS)
2 Fifty year §uspended sentence except for the first forty years to do With CFTS)
3 Fifty year(suspended sentence except fo`r the first forty years to do with CFTS)

with all except the first 40 suspended under the custody and control of:

(X) oklahoma Department of Corrections; or
pursuant to the rules and conditions of probation entered by the court

These term(s) to be served as follows (concurrent): with CM-11-3172, CF-11~4025, CF-11-5183, and CF-
12-712. Credit for time served.

 

lT lS FURTHER ORDERED, ADJUDGED, AND DECREED BY THE COURT that in addition to the
preceding terms, the Defendant is also sentenced to:
F|NE
(X) The defendant shall pay a fine of $50,00
(X) immediately

COSTS, \/CA. REST|TUT|ON
(X) The defendant shall pay costs, fees, and restitution in accordance with the
schedule attached as Exhibit A.

RULES AND CONDITIONS OF PROBAT|ON

The rules and conditions of probation as ordered by the court and signed by the defendant acknowledging
his/her understanding of the rules and conditions, are incorporated as Exhibit B.

HEAR|NG ON AB|L|TY TO PAY AFTER lNCARCERATION

(X) "-.`he defendant shall report to the District Court of Okiahoma County Within ONE day of release for a
hearing on the defendants ability to pay fines and costs pursuant to Section Vlll of the Ru|es of the
Court of Criminal Appea|s, 22 O.S., Ch. 18, App.

|T |S FURTHER ORDERED that judgment is hereby entered against the Defendant as to the fines, costs and
assessments set forth above. 1

The Court further advised the Defendant that, in the event the above sentence is for a crime involving
domestic violence where the Defendant is or was a spouse, intimate partner, parent, or guardian of the victim
or is or was involved in another similar relationship with the victim, it may be unlawful for him or her to
possess purchase, receive, transport or ship a firearm including a rifle, pistol or revolver or ammunition
pursuant to federal law under 18 U.S.C. Section 992(g)(8) or (9), or state law, or both.

The Court further advised the Defendant of his/her rights and procedure to appeal to the Court of Criminal
Appea|s of the State of Ok|ahoma, and that if he/she desired to appeal and was unable to afford counsel and
a transcript of the proceedings that the same would be furnished by the State subject to reimbursement of the
cost of representation in accordance with Sec. 1355.14 of Tit|e 22.

|n the event the above sentence is for incarceration in the Department of Corrections, the Sheriff of Ok|ahoma
County, Ol<|ahoma, is ordered and directed to deliver the Defendant to the l_exington Assessment and
Reception Center at Lexington, Ol<|ahoma, and leave therewith a copy of this Judgment and Sentence to
serve as warrant and authority for the imprisonment of the Defendant as provided herein. A second copy of
this Judg ment and Sentence to be warrant and authority of the Sheriff for the transportation and imprisonment
of the D¢::fendant as herein before provided The Sheriffto make due return to the Clerk of this Court, with his
proceedings endorsed thereon '

Witness my hand the day and year first above meWN
LAW ‘ \__,/

(SEAL) JUDGE OF THE DlSTRlCT COURT

Court Claf.k_(%/,'/

Deputy Clerk

ATTEST;

 

CLERK'S CERT|F|CAT|ON OF COP|ES

l, , Clerk of the District Court of Ok|ahoma County, State of Oklahoma, do hereby
certify the foregoing to be truel correct, full and complete copy of the original Judgment and Sentence in the
case of the State of Okiahoma vs. l\/lartin Vargas Jr. as the same appears of record in my office.

WlTNESS my hand and official seal this __ day of , 2012.
(sE/\L) `

 

Court C|erl<
By:

 

Deputy Court Clerl<

SHER|FF’S RETURN

| received this Judgment and Sentence the _ day of , 2012, and executed it by delivering the
Defendant to the Warden of the Lexington Assessment and Reception Center at Lexington, Oklahoma, on the
day of , 2012. l also certify the above prisoner has served __ days in the County Jai| on the

present charge or charges

Sheriff

Deputy Shen`ff

lN THE DiSTRlCT COURT OF OKLAHOMA COUNTY
THE STATE QF OKLAHOIV|A

STATE OF OKLAHON|A,

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Piainiirf, )
) No. CF-2012-712
vs. )
) Flt. l lN T
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Defendant. )
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SS#: >:x)<-xx-ZBSS PAT mm P .‘

    

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tO/of the crime(s) of:

Statutory Reference
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Count 2: Forcible Oral Sodomy AFCF 21 O.S. 888
Count 31 Rape in second degree by instrumentation AFCF 21 O.S. 1111
Count4: Burgulary l AFCF 21 O.S. 1431
(X) The defendant has previously been convicted of 01 felony crimes and the sentence has not been

enhanced in accordance with the provisions set forth in 21 O.S. 51; and,

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hearing on the defendants ability to pay fines and costs pursuant to Section Vlll of the Rules of the
Court of Criminal Appeals, 22 O.S., Ch. 18, App.

|T lS FURTHER ORDERED thatjudgment is hereby entered against the Defendant as to the finesl costs and
assessments set forth above

The Court further advised the Defendant that, in the event the above sentence is for a crime involving
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or is or was involved in another similar relationship with the victim, it may be unlawful for him or her to
possess purchase receive, transport or ship a firearm including a rifle, pistol or revolver or ammunition
pursuant to federal law under 18 U.S.C. Section 992(9)(8) or (9), or state law, or both.

The Court further advised the Defendant of his/her rights and procedure to appeal to the Court of Cn`minal
Appeals of the State of Oklahoma, and that if he/she desired to appeal and was unable to afford counsel and
a transcript of the proceedings that the same would be furnished by the State subject to reimbursement of the
cost of representation in accordance with Sec. 1355.14 of Title 22.

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this Judgment and Sentence to be warrant and authority of the Sheriff for the transportation and imprisonment
of the Defendant as herein before provided The Sheriff to make due return to the Clerk of this Court, With his
proceedings endorsed thereon

Witness my hand the day and year first above mentioned

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LARR\é/Crsu§‘s \,., `~
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ATTEsT:
l
Depu’iy Clerk

CLERK'S CERT|F|CAT|ON OF COPlES

l, , Clerk of the District Court of Oklahoma County, State of Oklahoma, do hereby
certify the foregoing to be true, correct, full and complete copy of the original Judgment and Sentence in the
case of ihe State of Oklahoma vs. Nlartin Vargas Jr. as the same appears of record in my office.

WlTNESS my hand and official seal this _ day of , 2012,

(seAi,i

 

Court Clerk
By:

 

Deputy Court Clerk

SHER|FF'S RETURN

l received this Judgment and Sentence the ___ day of , 2012, and executed it by delivering the
Defenda:'rt to the Warden of the l_exington Assessment and Reception Center at Lexingtonl Oklahoma, on the
_ day cf , 2012, l also certify the above prisoner has served ___ days in the County Jai| on the
present charge or charges

Sheriff
Deputy Sl'ieriff

